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                                                                                   Form M-2-1


UNITED STATES COURT OF INTERNATIONAL TRADE                                       FORM M-2

 United States

                             Plaintiff,
                                                                  Court No.: 1:19-00125
        v.
 Katana Racing, Inc.
                             Defendant.


                                   REPORT OF MEDIATION

                                             October 30, 2024
That pursuant to the Order of Referral dated ___________________ in this case,

I served as Judge Mediator for the mediation process between the parties in this
                                   May 30, 2025
case. The process was concluded on ___________________________;

        X
       ___ The mediation resulted in a settlement of all issues;


       ___ The mediation resulted in a partial settlement;


       ___ The mediation did not result in a settlement;



                                                     /s/ Jennifer Choe-Groves
                                                     ___________________________________
                                                     (Name)
                                                     Judge Mediator
               June 6, 2025
DATED:
               New York, New York



(Added Sept. 30, 2003, eff. Jan. 1, 2004; Dec. 6, 2011, eff. Jan. 1, 2012.)
